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1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    CRISTIAN SANCHEZ,

4                    Plaintiff,

5               v.                              21 Civ. 2598 (KPF)

6    WELCOME SKATEBOARDS INC.,

7                   Defendant.                  Oral Decision (Remote)
     ------------------------------x
8                                               January 27, 2022
                                                2:34 p.m.
9
     Before:
10
                         HON. KATHERINE POLK FAILLA,
11
                                                District Judge
12
                                  APPEARANCES
13
     MIZRAHI & KROUB LLP
14        Attorneys for Plaintiff
     BY: WILLIAM DOWNES, ESQ.
15        JOSEPH H. MIZRAHI, ESQ.

16   BLANK ROME LLP
          Attorneys for Defendant
17   BY: MARTIN S. KREZALEK, ESQ.

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1               (Case called)

2               THE DEPUTY CLERK:     Counsel, please state your name for

3    the record, beginning with plaintiff.

4               MR. DOWNES:    Good afternoon, your Honor.     William

5    Downes of the firm of Mizrahi Kroub for plaintiff.        I am also

6    joined by my colleague Mr. Joseph Mizrahi.

7               THE COURT:    Thank you, and good afternoon to both of

8    you.

9               And representing the defendant this afternoon?

10              MR. KREZALEK:    Good afternoon, your Honor.    This is

11   Martin Krezalek of the law firm of Blank Rome for defendant

12   Welcome Skateboards.

13              THE COURT:    I thank you very much.   All right.   Good

14   afternoon to all of you.      Oh, Mr. Krezalek, is someone else

15   joining you on the call today?       I didn't want to overlook

16   anyone.

17              MR. KREZALEK:    No, Judge.   It is just me.

18              THE COURT:    Okay.   Thank you.

19              I appreciate your willingness to be available this

20   afternoon for an oral decision.       I thought that that would be

21   the most efficient way of resolving the motion to dismiss that

22   is currently on my docket.

23              I will be reading into the record that decision soon.

24   I'm going to ask Mr. Krezalek, please, to obtain a transcript

25   of this decision in the ordinary course, with whatever speed


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1    you think is appropriate.        You do not need to get an expedited

2    copy for me.    I will take it whenever it comes.

3               What I would ask is this:      Mr. Downes, if you agree,

4    what I would like to do is not read into the record the general

5    standards for a motion pursuant to Rule 12(b)(1) or a motion

6    pursuant to Rule 12(b)(6).        I think the parties are well aware

7    of them.    I didn't think that those sort of standards were the

8    subject of dispute.      But if you'd like me to, I'll read them

9    into the record as well.      Mr. Downes, do you agree that I don't

10   have to?

11              MR. DOWNES:    Yes, your Honor.    I think that would be

12   expeditious.

13              THE COURT:    Okay.   Well, I'm not sure how much time it

14   will save, but I do appreciate it.

15              And Mr. Krezalek, do you have any problem with my not

16   reading in the standards for 12(b)(6) and 12(b)(1) into the

17   record?

18              MR. KREZALEK:    No problem at all, your Honor.

19              THE COURT:    Okay.   I thank you.

20              Well, with that, I'm going to then give my decision,

21   and you are invited at this time to mute your own phones so

22   that there are no interruptions.        I will begin.

23              The issues raised in this case are new to neither the

24   Court nor the parties.      Plaintiff Sanchez, who is visually

25   impaired, claims that he cannot access defendant Welcome


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1    Skateboards, Inc.'s website; he brings claims under the

2    Americans with Disabilities Act -- which I will refer to in

3    this decision as the ADA -- and the New York City Human Rights

4    Law, which I will refer to in this decision as the NYCHRL.

5    Defendant has moved to dismiss on the grounds that plaintiff

6    has not adequately alleged standing or Article III injury, and

7    that to the extent plaintiff has alleged barriers to access of

8    at defendant's website in the underlying complaint, such

9    barriers have been remediated (and plaintiff's claims thereby

10   mooted) with the installation of an accessibility widget from

11   the entity accessiBe.

12              As the parties are aware, I have written several

13   opinions addressing website accessibility under the ADA, and

14   there have also been several recent decisions from my

15   colleagues in this district.   To preview, I find that plaintiff

16   here has adequately alleged barriers to access of defendant's

17   website, and I further find that the competing affidavits from

18   the parties' expert witnesses foreclose my ability to find

19   mootness (or lack of Article III injury) as a matter of law.

20   And for all of those reasons, I will be denying defendant's

21   motion.

22              In the first amended class action complaint, which I

23   will probably just call the complaint, because I think that's

24   the easiest way of describing it, plaintiff identifies himself

25   as "a visually-impaired and legally blind person who requires


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1    screenreading software to read website content using his

2    computer," and also, "a proficient NVDA screen-reader [who]

3    uses it to access the Internet."    According to plaintiff, he

4    has repeatedly attempted to access defendant's website

5    (presumably with NVDA, though the defense notes that this is

6    not specifically alleged) with the intention to purchase a

7    skateboard for his nephew, but that he has repeatedly

8    encountered barriers to access.    These are alleged at

9    paragraphs 6, 27, and 29 of the complaint, among others.

10              In the complaint, plaintiff specifies seven different

11   barriers to access that he encountered.    And more broadly, he

12   claims that not only has the website never been equally

13   accessible, but that defendant "does not have, and has never

14   had, an adequate corporate policy that is reasonably calculated

15   to cause its Website to become and remain accessible."    I am

16   quoting from the complaint at paragraph 37.    Mr. Sanchez brings

17   claims for injunctive relief and damages, both individually and

18   as a purported class representative, under the ADA and the

19   NYCHRL.

20              The initial complaint was filed on March 25, 2021.

21   And by letter dated May 28, 2021, the defendant announced its

22   intent to move for leave to dismiss the complaint.   After

23   plaintiff responded, the Court scheduled an opportunity for

24   plaintiff to file an amended complaint, and that complaint is

25   the operative complaint in this case.    It's what I have been


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1    referring to as the complaint.   And it was filed on June 17th

2    of 2021.    There was a premotion conference with the parties

3    held on July 8, 2021.   Defendant's motion and supporting papers

4    were filed on August 4th of 2021; plaintiff's responsive

5    submissions were filed on September 10th and 13th of 2021; and

6    defendant's reply submissions were filed on September 24, 2021.

7    In December, plaintiff's counsel filed a notice of supplemental

8    authority regarding a recent decision from Judge Ramos.

9               Now as I said at the outset, I've written on these

10   issues before (both granting and denying motions to dismiss).

11   I see as well that each of you has made your argument to other

12   judges.    In preparation for this decision, I reviewed my

13   earlier decisions in Guglielmo v. Nebraska Furniture Mart,

14   Inc., 2021 WL 4124660; Camacho v. Vanderbilt Univ., 2019 WL

15   6528974; and Diaz v. Kroger Co., 2019 WL 2357531.    I've also

16   considered more recent cases in the area, and these include

17   Quezada v. U.S. Wings, Inc., 2021 WL 5827437; Paguada v.

18   Yieldstreet Inc., 2021 WL 4896278; Angeles v. Grace Prod.,

19   Inc., 2021 WL 4340427; Jaquez v. Aqua Carpatica USA, Inc., 2021

20   WL 3727094; and Jaquez v. Dermpoint, 2021 WL 2012512.

21              And I want to emphasize that despite what may seem

22   like a brevity of analysis in this opinion, I have considered

23   defendant's arguments seriously, I have scrutinized plaintiff's

24   pleadings, and his opposition submissions, and at base, I'm

25   unable to find a lack of standing or mootness given the


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1    competing expert submissions, and given the fact that plaintiff

2    hasn't been yet able to test fully the statements of (and

3    therefore does not concede the points made by) defendant's

4    expert.

5               Also -- and I will mention this only in passing --

6    each of you resorted to name-calling in your briefing.   I find

7    it unbecoming; I find it doesn't help your arguments.    To

8    defense counsel, let me note that I am well aware of the number

9    of lawsuits filed by this plaintiff and his firm; and

10   plaintiff's counsel, I am also aware of the win/loss record for

11   the legal arguments that are being advanced by your firm and by

12   the defendant's firm, and I do not need to know about

13   extraneous disputes between accessiBe and foundations such as

14   the National Federation for the Blind.

15              I will skip now over the standards for a motion to

16   dismiss under 12(b)(1) and a motion to dismiss under 12(b)(6),

17   and I will begin with my analysis of defendant's arguments.

18              Here, defendant leads with a Rule 12(b)(6) argument

19   rather than its 12(b)(1) argument.   I am therefore resolving

20   these claims in reverse order.   And that is because where a

21   party seeks dismissal on both Rule 12(b)(1) and Rule 12(b)(6)

22   grounds, the Court must consider the 12(b)(1) motion first.      A

23   case for that proposition is Baldessarre v. Monroe-Woodbury

24   Cent. Sch. Dist., 850 F.Supp.2d 490, 499 (S.D.N.Y. 2011).     And

25   just to finish that thought, one considers the 12(b)(1) motion


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1    first because "disposition of a Rule 12(b)(6) motion is a

2    decision on the merits, and therefore, an exercise of

3    jurisdiction."   I'm quoting here from Judge Pauley's decision

4    in Chambers v. Wright, 2007 WL 4462181.

5               As its first jurisdictional argument, defendant claims

6    that plaintiff has not demonstrated a concrete and

7    particularized injury in fact and therefore lacks standing.

8    And in this regard, defendant claims that plaintiff pleads only

9    conclusory allegations and legal conclusions; that he did not

10   plead personal encounters with the 17 "common barriers" that he

11   alleges; and that he provided insufficient specificity

12   regarding the seven access barriers he personally claimed to

13   encounter.    The defendant also reviews in detail the access

14   barriers identified by plaintiff in the complaint and seeks to

15   explain why each is not, in fact, a barrier.

16              Article III of the Constitution limits federal courts'

17   jurisdiction to "cases" and "controversies."   "The doctrine of

18   standing gives meaning to these constitutional limits by

19   'identify[ing] those disputes which are appropriately resolved

20   through the judicial process.'"   Susan B. Anthony List v.

21   Driehaus, 573 U.S. 149, 157 (2014) (quoting Lujan v. Defenders

22   of Wildlife, 504 U.S. 555, 560 (1992)).   The Supreme Court has

23   "established that the 'irreducible constitutional minimum' of

24   standing consists of three elements."   I quote here from

25   Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016).    And here


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1    are these three elements:    "The plaintiff must have [i]

2    suffered an injury in fact, [ii] that is fairly traceable to

3    the challenged conduct of the defendant, and [iii] that is

4    likely to be redressed by a favorable judicial decision."

5    Where, as here, a plaintiff also seeks injunctive relief, he

6    "must also prove that the identified injury in fact presents a

7    'real and immediate threat of future injury,' often termed a

8    'likelihood of future harm.'"    And I'm quoting from the Second

9    Circuit's decision in Bernstein v. City of New York, 621 Fed.

10   App'x 56, from 2016.

11              "In reviewing standing under the ADA, 'a broad view of

12   constitutional standing' is appropriate because 'private

13   enforcement suits are the primary method of obtaining

14   compliance with the Act.'"    This is from Judge Hurley's

15   decision in Feltzin v. Clocktower Plaza Props., Ltd., 2018 WL

16   1221153, from the Eastern District of New York in 2018.     And in

17   actions brought under the ADA, the Second Circuit has "found

18   standing (and therefore an injury in fact)," where a plaintiff

19   "[i] alleges past injury under the ADA, [ii] shows that it is

20   reasonable to infer from his or her complaint that the

21   discriminatory treatment will continue, and [iii] shows that it

22   is reasonable to infer that he or she 'intend[s] to return to

23   [the public accommodation].'"    Cases for that proposition

24   include Kreisler v. Second Ave. Diner Corp., 731 F.3d 184, from

25   2013, and Harty v. Greenwich Hosp. Grp., LLC, 536 F. App'x 154,


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1    a Second Circuit decision from 2013.

2               The Second Circuit has indicated that the

3    injury-in-fact standard is to be viewed as a "low threshold."

4    Judge Ramos found that in Bronx Indep. Living Servs. v. Metro.

5    Transp. Auth., 2021 WL 1177740, a Southern District decision

6    from 2021 that in turn quotes the Second Circuit's decision in

7    John v. Whole Foods Mkt. Grp., Inc., 858 F.3d 732.     Moreover,

8    although injuries must be concrete and "actually exist," they

9    do not require tangibility.   In Camacho, for example, this

10   Court found that the plaintiff's inability to access and

11   general deterrence to use the defendant's website sufficed to

12   allege an ADA injury.

13              Defendant argues that plaintiff must plead greater

14   specificity as to dates, website pages, and precise items that

15   he was considering or attempting to purchase.    I disagree.    To

16   satisfy standing in ADA website cases specifically, courts in

17   this district have required the plaintiff to allege certain

18   facts, including when they attempted to access the website,

19   what they were attempting to do on the website, the specific

20   barriers that prevented them from gaining access, and how they

21   intend to utilize the website in the future.    One of the Jaquez

22   cases I mentioned earlier stands for that proposition and found

23   no standing where the plaintiff did not state the product that

24   the plaintiff intended to purchase when they allegedly

25   attempted to shop on the website; my Guglielmo decision of


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1    earlier found no standing where plaintiff did not identify the

2    date website was accessed or the goods that the plaintiff

3    intended to purchase; and Mendez v. Apple Inc., a decision of

4    Judge Preska's from 2019, contained at 2019 WL 2611168, found

5    no standing where the plaintiff did not identify the date

6    accessed, the goods plaintiff intended to purchase, or the

7    section of the website that plaintiff attempted to access.

8               Here, the Court agrees with plaintiff that he has

9    pleaded injury sufficiently.   The plaintiff has indicated that

10   he visited the website at least twice between March 25th and

11   June 1st of 2021; that he attempted to purchase a skateboard

12   for his nephew; and that there were specific website functions

13   that prevented him from completing such a purchase as a sighted

14   person would.    I see this discussed at plaintiff's opposition,

15   pages 4, and then 12 through 15.   These barriers, and the

16   consequent deterrence of plaintiff from visiting the website,

17   suffice under this Court's analysis in Camacho to constitute

18   injury.

19              As in the Angeles case I mentioned earlier:   "The

20   central allegation in [the] complaint is that [plaintiff] went

21   to Defendant's website with the intent of making a purchase but

22   was not able to properly navigate the different pages of

23   Defendant's website, nor was [he] able to differentiate between

24   Defendant's various products in order to decide which one, if

25   any, [plaintiff] wished to purchase."   Similar to the Quezada


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1    decision.

2               Now the defendant argues the plaintiff does not

3    contest that the seven access barriers he identified have been

4    remediated.    This is the point made in defendant's reply at

5    pages 1 and 2.   But plaintiff does not in fact concede that,

6    and adds that access barriers still exist.    That is found at

7    plaintiff's opposition at page 21.    In particular, plaintiff

8    indicated, "it is far from undisputed whether this application

9    has remedied the barriers Plaintiff encountered."

10              I'm also aware of the declarations submitted by the

11   defendant, particularly those from Mr. Ekron of accessiBe,

12   explaining to me why the access issues raised by plaintiff

13   either never existed, or did not amount to a barrier to access,

14   or have been remediated by the April 2021 installation of the

15   accessiBe widget.    However, as to the first and second of these

16   arguments, as just noted, plaintiff hasn't backed away from his

17   claims that he was unable to access the website during the

18   relevant time period because of these barriers on the two

19   occasions that he visited the site, and I therefore cannot find

20   that plaintiff has not established injury in fact.     As to the

21   third of Mr. Ekron's arguments, I will discuss it in the

22   following section.

23              That is this -- the issue of mootness.    The defendant

24   claims that any of its website access issues have been

25   remediated by the installation of the accessiBe widget.


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1    Defendant presents much evidence concerning the manner in which

2    the widget operates, as well as the auditing and updating

3    functionalities that it contains.   This is contained, among

4    other places, at pages 20 to 22 of the defense brief.      In

5    addition, defendant states "its intent to take all the steps

6    necessary to keep its Website fully compliant with the

7    requirements set forth in the ADA, and its implementing

8    regulations, so that the Website is readily accessible to and

9    useable by blind individuals."

10              Now a request for injunctive relief, such as that

11   sought by plaintiff under the ADA, will only be deemed moot by

12   a defendant's voluntary compliance with the statute if the

13   defendant meets what has been called the "formidable burden" of

14   demonstrating that it is "absolutely clear the allegedly

15   wrongful behavior could not reasonably be expected to recur."

16   I'm quoting from Friends of the Earth, Inc. v. Laidlaw Env't

17   Servs., Inc., a Supreme Court decision from 2000, reported at

18   528 U.S. 167.    Other cases for this proposition include

19   Already, LLC v. Nike, Inc., 568 U.S. 85, from 2013; Clear

20   Channel Outdoor, Inc. v. City of New York, 594 F.3d 94, a

21   Second Circuit decision from 2010; and in Campbell-Ewald Co. v.

22   Gomez, a Supreme Court decision from 2016, reported at

23   577 U.S. 153.    "As long as the parties have a concrete

24   interest, however small, in the outcome of the litigation, the

25   case is not moot."   And so more specifically, "[t]he voluntary


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1    cessation of allegedly illegal activity may render a case moot

2    'if the defendant can demonstrate that [i] there is no

3    reasonable expectation that the alleged violation will recur

4    and [ii] interim relief or events have completely and

5    irrevocably eradicated the effects of the alleged violation.'"

6    I'm quoting to the Clear Channel case, which in turn quotes

7    from Campbell v. Greisberger, a Second Circuit decision from

8    1996, reported at 80 F.3d 703.    I see as well that one of my

9    colleagues has discussed the issue, Judge Oetken, in the case

10   of Sullivan v. Study.com LLC, 2019 WL 1299966.

11              Now courts in this district have found that this

12   burden can be met by submitting affidavits and other evidence

13   demonstrating that the defendant has altered the website to

14   bring it into full and permanent compliance and has no

15   intention of regressing back to inaccessibility.     My prior Diaz

16   decision had just that, relying on an affidavit submitted by

17   the employees of the defendant.    But courts have been unwilling

18   to find this burden met where there was insufficient evidence

19   to show that the claimed efforts had actually been made or

20   where the efforts did not resolve all of the issues.    As the

21   source for that, I cite Wu v. Jensen-Lewis Co., 345 F.Supp.3d

22   438, a Southern District of New York decision from 2018;

23   Feltenstein v. City of New Rochelle, 254 F.Supp.3d 647, a

24   Southern District of New York decision from 2017; the Sullivan

25   decision I mentioned earlier; Del-Orden v. Bonobos, Inc., 2017


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1    WL 6547902.

2               And in this case, the instant case, and unlike my Diaz

3    case, the question of remediation remains open.      Defendant has

4    submitted affidavits from Mr. Ekron with the opening and reply

5    submissions, and Mr. Ekron has gone into considerable detail

6    explaining what the ostensible problems were with the website

7    and why they either were not problems or have been fixed.      He

8    also includes a WAVE audit report -- actually several of

9    them -- showing no current problems.      But plaintiff does not

10   agree with these conclusions; he does not stand down from his

11   allegations of website access barriers; and he has submitted --

12              One moment, please.

13              Ms. Noriega, did I lose or gain someone?

14              THE DEPUTY CLERK:   Judge, I'm going through the list.

15              THE COURT:   Thank you.

16              THE DEPUTY CLERK:   A listen-only participant has

17   dropped off.

18              THE COURT:   I thank you.   I'm sorry I was not

19   sufficiently exciting for them.      I will continue.

20              The plaintiff has submitted a declaration from his own

21   expert witness, Mr. Moody, averring that he independently

22   evaluated the website on August 24th of 2021 and determined

23   issues with the identified website do exist and moreover, those

24   issues are a barrier to individuals with low to no vision.

25   That's Mr. Moody's declaration at paragraphs 7 and 8.


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1    Mr. Moody also opined specifically that the website "has

2    defects, can and will continue to create problems for visually

3    disabled persons, such as the Plaintiff, and these defects act

4    as a barrier to the effective use and enjoyment of the site for

5    persons with low to no vision."    That quote is from

6    paragraph 14 of his declaration.    And this dispute between the

7    experts, as I hinted at earlier, forecloses the finding of

8    mootness as a matter of law.

9               To be clear, I am aware that in the reply and in the

10   reply declaration of Mr. Ekron, defendant calls into question

11   Mr. Moody's qualifications and his conclusions.      I'm looking at

12   the moment at defendant's reply, pages 8 through 10.     But as

13   with the courts in the Paguada, Angeles, and Quezada cases, I

14   found that Mr. Moody's declaration prevents me from finding

15   that there is no reasonable expectation that the alleged

16   violation will recur or that interim relief or events have

17   completely and irrevocably eradicated the effects of the

18   alleged violation.

19              Let me note, please, that I am not addressing in this

20   opinion the second argument advanced by plaintiff as shown in

21   their opposition at page 19, and that argument is that

22   defendant's decision to effect compliance using a third party

23   forecloses it from making the affirmative showing that

24   recurrence of the alleged ADA violations is "nearly

25   impossible."


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1               So finally, defendant argues that plaintiff has failed

2    to state a claim under the ADA because he has failed to allege

3    that defendant did not provide an auxiliary aid or service to

4    make the website accessible to the visually impaired.   On this

5    point, defendant argues that the plaintiffs improperly relies

6    on pleading "on information and belief"; that the critical

7    inquiry is whether the website is accessible and not whether

8    it's perfect; that businesses have flexibility in satisfying

9    the ADA's accessibility requirements; that accessiBe suffices

10   as an auxiliary aid for the visually impaired; and that

11   plaintiff's issues are, at most, nonactionable "foot faults."

12              The principal problem with this category of claims is

13   that it overlooks the requirements of Rule 12(b)(6).    The Court

14   must credit the well-pleaded allegations of plaintiff's

15   complaint, and those allegations detail barriers to access that

16   prevent the plaintiff from exploring defendant's website and

17   purchasing a skateboard for his nephew.   To state a claim under

18   the ADA, the complaint must allege that: (i) plaintiff is

19   disabled within the meaning of the ADA, (ii) defendant owns or

20   operates a place of public accommodation, and (iii) defendant

21   discriminated against plaintiff by denying him a full and equal

22   opportunity to enjoy defendant's services.   I am citing here to

23   Camarillo v. Carrols Corp., 518 F.3d 153, a Second Circuit

24   decision from 2008.

25              Plaintiff notes, and plaintiff notes correctly, that


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1    plaintiff was not required to plead, and did not in fact plead,

2    the inadequacy of an alleged accommodation, which is this

3    "auxiliary aid" argument, but rather, plaintiff alleged that he

4    encountered accessibility barriers that prevented him from

5    engaging with a public accommodation due to the intentional

6    discrimination or the disparate impact of defendant's policies.

7    This is set forth at plaintiff's opposition, pages 22 and 23,

8    and shown as well in the complaint at paragraph 25.

9               For much the same reasons that plaintiff's pleadings

10   adequately plead standing, and injury in fact, and lack of

11   mootness, they suffice to state a claim under the ADA.

12              The Paguada case to which I referred earlier

13   specifically rejected that defendant's claim of "foot fault,"

14   and this Court does as well.

15              Finally, I am aware of defendant's request that I

16   adopt a "meaningful access" standard.   Now that's set forth at

17   defendant's brief, pages 12 and 13 at note 7.   That standard

18   has been used in certain ADA cases in this circuit.   I have to

19   say, I don't think I've seen it adopted in the ADA website

20   context.    I saw it recently in Martinez v. Cuomo, a Southern

21   District of New York decision from 2020, reported at 459

22   F.Supp.3d 517, and that was a case involving interpreters at

23   the New York State Governor's daily briefings, and the quote in

24   question was:    "A public entity discriminates against a

25   disabled individual when it fails to provide 'meaningful


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1    access' to its benefits, programs, or services."     But even if I

2    were to adopt a meaningful access standard, I don't see how it

3    differs or, more to the point, I don't see how I would arrive

4    at a different result in this case, where plaintiff has

5    adequately alleged injury.     The plaintiff alleged he wasn't

6    able to navigate the website or to purchase goods from it.

7    That would seem to me to suffice as meaningful access.

8               Let me just pause and note that discovery will

9    disclose whether plaintiff has actually raised issues worthy of

10   a trial, but for now, this Court must conclude that he has

11   pleaded adequate claims.     In particular, and because the Court

12   finds that plaintiff has adequately pleaded a claim under the

13   ADA, it will retain supplemental jurisdiction over his claim

14   under the New York City Human Rights Law.

15              So for all of these reasons, this Court is denying

16   defendant's motion to dismiss.     And the Clerk of Court will be

17   directed to terminate the motion at Docket Entry No. 20.

18              I thank you very much for listening.

19              Mr. Krezalek, do you know now what schedule you would

20   like to file an answer in this case and for you and the folks

21   on the other side to work out a schedule in the case management

22   plan?   I appreciate, sir, that I've just given you this

23   decision.    You might want some time to think about it.    But if

24   you were ready to set a schedule, I would do it here.

25              MR. KREZALEK:   Your Honor, I would respectfully ask


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1    for 30 days to file an answer.

2               THE COURT:    Okay.   Please excuse me while I look at my

3    calendar.

4               That might get you to a Saturday, but I just also may

5    be poor with my -- it should be fine.        Let me try and do that

6    again.

7               Yes.   Let's say, sir, February 28th, please.    And

8    then --

9               MR. KREZALEK:    Thank you.

10              THE COURT:    Thank you.   And then may I have by

11   March 7th a joint letter from the parties and a proposed case

12   management plan.    The answer to that is, of course, yes.

13   Mr. Krezalek, may I have that?

14              MR. KREZALEK:    Yes.

15              THE COURT:    Yes.    Good answer.

16              All right.    And Mr. Downes, may I also have your

17   commitment to work with Mr. Krezalek to get me the case

18   management plan and the joint letter?

19              MR. DOWNES:    Yes, your Honor.

20              THE COURT:    Thank you.

21              All right.    Mr. Downes, is there anything else you'd

22   like to address in today's proceeding?

23              MR. DOWNES:    Not at this time, your Honor.

24              THE COURT:    I thank you.

25              Mr. Krezalek, anything else to address in this


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1    proceeding?

2               MR. KREZALEK:   Nothing, your Honor.    Thank you very

3    much.

4               THE COURT:    Okay.   I thank each of you again for your

5    patience this afternoon, and also your patience waiting for the

6    resolution of this motion.       I wish to each of you, to your

7    families, to your clients, continued safety and good health

8    during this pandemic.

9               We are adjourned.     Thank you very much.

10              MR. KREZALEK:   Thank you, your Honor.

11              MR. DOWNES:   Thank you, your Honor.

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